                            UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF NORTH CAROLINA



 FOOD LION, LLC, and MARYLAND AND
 VIRGINIA MILK PRODUCERS
 COOPERATIVE ASSOCIATION, INC.

                         Plaintiffs,                            Case No. 1:20-cv-00442

v.                                                              NOTICE OF APPEARANCE

 DAIRY FARMERS OF AMERICA, INC.,

                         Defendant.


       PLEASE TAKE NOTICE that the undersigned, James A. Lamberth, hereby enters his

appearance as counsel for Plaintiff Maryland and Virginia Milk Producers Cooperative

Association, Inc. in this action, and requests that all parties and interested persons serve copies of

any and all papers, notices and correspondence on the undersigned at the address listed below.

       This the 26th day of May, 2020.

                                                   /s/ James A. Lamberth
                                                   James A. Lamberth (admitted pro hac vice)
                                                   GA Bar No. 431851
                                                   Troutman Sanders, LLP
                                                   600 Peachtree Street, N.E. Suite 3000
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                                                   Counsel for Maryland and Virginia Milk
                                                   Producers Cooperative Association, Inc.




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                             CERTIFICATE OF SERVICE

       I hereby certify that on May 26, 2020, I electronically filed this document with the

Clerk of the Court using the CM/ECF system, and served this document on Defendant’s

registered agent for service of process as required by the Federal Rules of Civil

Procedure:

       Dairy Farmers of America, Inc.
       c/o Its Registered Agent, Corporation Service Company
       2626 Glenwood Avenue, Suite 550
       Raleigh, NC 7608


                                          s/ James A. Lamberth
                                          James A. Lamberth




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